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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

RALPH S. JANVEY, IN HIS CAPACITY § §
AS COURT-APPOINTED RECEIVER
FOR THE STANFORD
INTERNATIONAL BANK, LTD., ET
AL.,

CASE NO. 03:09-CV-0724-N
Plaintiff,

Vv.

JAMES R. ALGUIRE, ET AL.,

SR LP LN LP Lr LP SL) Lr LI> La GL SO

Relief Defendants.

CORPORATE DISCLOSURE STATEMENT OF DEFENDANT PERSHING LLC

Pursuant to Federal Rule of Civil Procedure 7.1, Pershing LLC states that it is a wholly-
owned subsidiary of Pershing Group LLC, which is a wholly-owned subsidiary of The Bank of
New York Mellon Corporation. The Bank of New York Mellon Corporation is a publicly traded
corporation. There are no publicly held corporations that own 10% or more of the stock of The

Bank of New York Mellon Corporation.

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Dated: August 19, 2009 Respectfully submitted,

FULBRIGHT & JAWORSKI L.L.P.

/s/
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CERTIFICATE OF SERVICE

On August 19, 2009, I electronically submitted the foregoing document with the clerk of
the court of the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I will serve the Plaintiffs individually or through their

counsel of record, electronically, or by other means authorized by the Court or the Federal Rules

of Civil Procedure.

/s/

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